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Prob 12B                    UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                            (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                         NICK VELARDE

Docket Number:                         1:02CR05241-02 REC

Offender Address:                      El Monte, California

Judicial Officer:                      Honorable Oliver W. Wanger
                                       Senior United States District Judge
                                       Fresno, California

Original Sentence Date:                September 23, 2003

Original Offense:                      21 USC 843(b), Use of a Communication Facility in
                                       Connection With a Drug Offense- 2 counts
                                       (CLASS E FELONIES)

Original Sentence:                     48 months Bureau of Prisons each; 12 months supervised
                                       release;$100 special assessment-each count, mandatory
                                       drug testing

Special Conditions:                    1) Search; 2) Alcohol and Drug Treatment; 3) Alcohol and
                                       Drug Testing; 4) No paging device or cellular phone;
                                       5) Drug Offender Registration.

Type of Supervision:                   Supervised Release

Supervision Commenced:                 June 5, 2009 (Projected)

Assistant U.S. Attorney:               Kevin P. Rooney                       Telephone: (559) 497-4000

Defense Attorney:                      Anthony P. Capozzi                    Telephone: (559) 221-0200

Other Court Action:                    None




                                                                                                              R ev. 05/2008
                                                                                 V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                                                                                 (M O D IFIC A T IO N ).M R G
         Case 1:02-cr-05241-OWW Document 79 Filed 01/20/09 Page 2 of 3


RE:    NICK VELARDE
       Docket Number: 1:02CR05241-02 REC
       PETITION TO MODIFY THE CONDITIONS OR TERM
       OF SUPERVISION WITH CONSENT OF THE OFFENDER




                                 PETITIONING THE COURT

To modify the conditions of supervision as follows:


       The defendant shall submit to one drug test within 15 days of release on
       supervised release and at least two periodic drug tests thereafter, not to exceed
       four (4) tests per month, as directed by the probation officer pursuant to 18
       USC 3583(d).


Justification: The United States Probation Office in the Central District of California (CD/CA)
has accepted supervision of this offender's case, though not jurisdiction. Based on their review of
the case, officials with the CD/CA probation office are requesting that the above-referenced
condition be added to the offender's supervised release conditions. It is noted that the offender has
acknowledged his willingness to modify his conditions by signing a Waiver of Hearing Modify
Conditions of Supervised Release form, which is attached for the Court's review.




                                                                                                         R ev. 05/2008
                                                                            V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                                 2                                          (M O D IFIC A T IO N ).M R G
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RE:   NICK VELARDE
      Docket Number: 1:02CR05241-02 REC
      PETITION TO MODIFY THE CONDITIONS OR TERM
      OF SUPERVISION WITH CONSENT OF THE OFFENDER


                                    Respectfully submitted,

                                    /s/ Leighann L. Milford

                                    Leighann L. Milford
                           Senior United States Probation Officer
                                 Telephone: (559) 499-5724

DATED:         January 15, 2009
               Fresno, California
               LLM


REVIEWED BY:          /s/ Hubert J. Alvarez
                      Hubert J. Alvarez
                      Supervising United States Probation Officer




THE COURT ORDERS:

( X ) Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:

IT IS SO ORDERED.

Dated: January 16, 2009                        /s/ Oliver W. Wanger
emm0d6                                    UNITED STATES DISTRICT JUDGE




                                                                                                    R ev. 05/2008
                                                                       V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                              3                                        (M O D IFIC A T IO N ).M R G
